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Defendant's Exhibit List                                                                                       United States v. Tao
                                                                                                        Case No. 19-20052-JAR-JPO

                           DEFENDANT DR FRANKLIN TAO'S PRELIMINARY EXIDBIT LIST


Exhibit       Date                          Document Description                                        Bates No.
 No.
 1001      8/21/2019       August 21, 2019, Transcript of Grand Jmy Testimony of         DOJ-01420786
                           S. Lampe
 1002      1/15/2020       January 15, 2020, Transcript of Grand Jmy Testimony of        DOJ-01420829
                           S. Lampe
 1003      6/24/2020       June 24, 2020, Transcript of Gran d Jmy Testimony of S.       DOJ-01420893
                           Lampe
 1004      5/21/2015       Email chain from B. Bernet to F. Tao re: URGENT -             DOJ-00269942-45
                           Withdraw an d Resubmit the DOE Proposal
 1005      12/2/2014       KAUST Competitive Reseai·ch Grants Prograin (CRG)             DOJ-00261763
                           Round 3 Award to University of Kansas
 1006      12/2/2014       Email from ORS Contracts to B . Bernet, et al. , re: 2224     DOJ-00260986-87
                           CRG3 Subaward Agreement UKansas (Dr. Franklin Feng
                           Tao) KAUST (Dr. Kazuhiro Takanabe)
 1007      1/2/2015 -      Email chain from J. Small to F. Tao re: Proposal              DOJ-00255793-94
            1/5/2015       Submission
 1008     5/10/2018 -      Email chain from F. Tao to S. Bowling, et al. , re: meeting   DOJ-00474617
           5/15/2018       slot
 1009      5/17/2018       Email from F. Tao to L. Weatherley re: letter to apply a      DOJ-00001748
                           fom-month no-oavment leave in soring 2019
 1010     5/17/2018 -      Email chain from C. Brown to L. Weatherley re: letter to      DOJ-00474693
          12/10/2018       apply a fom-month no-payment leave in spring 2019
 1011     5/17/2018 -      Email chain from C. Brown to M . Hegedusich, et al., re:      DOJ-00474696
           12/9/2018       letter to apply a fom-month no-payment leave in spring
                           2019
 1012      5/21/2018       Email from F. Tao to C. Brown, et al., re: quick question     DOJ-00474613
                           on no-oavment leave
 1013      6/22/2018       Buy-Out Comse Letter from F. Tao to L. Weatherley             DOJ-00001597



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Defendant's Exhibit List                                                                                       United States v. Tao
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Exhibit       Date                          Document Description                                        Bates No.
 No.
 1014       3/2/2018       fuvitation Spring/Summer 2019 Letter from R. Schlogl          DOJ-00001709
                           (Fritz-Haber-fustitut der Maz-Planck-Gessellschaft) to F.
                           Tao
 1015                      KU Commitment of Time, Conflict offuterest,
                           Consulting, and Other Employment Policy
 1016      4/30/2018       No-Payment Leave Request Letter from F. Tao to L.             DOJ-00474615; DOJ-01417539
                           Weatherlev
 1017     5/17/2018 -      Email chain from L. Weatherley to B. Subramaniam re:          DOJ-00001731 -32
           5/21/2018       Franklin - application for unpaid leave
 1018     5/17/2018 -      Email chain from F. Tao to L. Weatherley re FW: letter to     DOJ-00001733
           5/21/2018       apply a four-month no-payment leave in spring 2019
 1019     5/29/2018 -      Email from F. Tao to L. Weatherley, et al. , re: buying out   DOJ-00001594
           6/22/2018       course
 1020      5/17/2018       Email chain from K. Mason to R. Saalweachter, et al. , re
                           FW: subaward from Fuzhou University
 1021      6/25/2018       Email from L. Weatherley to F. Tao, et al. , re: buying out   DOJ-00001465
                           course
 1022     5/22/2018 -      Email chain from T. Spencer to F. Tao, et al. , re FW:        DOJ-00121582-84
           6/25/2018       buying out course
 1023     7/10/2018 -      Email chain from F. Tao to B. Bernet, et al. , re: DOE        DOJ-00139104-06
           7/11/2018       Request to Complete a Revised Budget for Proposal
                           0000235086
 1024       4/2/2019       Email chain from L. Weatherley to F. Tao re : Buy outs for    DOJ-00001729-30
                           FY2020
 1025       2/8/2019       Email from L. Weatherley to A. Allgeier, et al., re :         DOJ-00153821
                           Teaching duties 2019 / 2020
 1026       2/7/2019       KU Chemical Engineering Core and Elective Courses -           DOJ-00153822-25
                           For Discussion (attachment to email re: Teaching duties
                           2019 / 2020)
 1027      9/11/2020       Financial fuvestigative Repo1i by C. Gibby



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Defendant's Exhibit List                                                                                United States v. Tao
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Exhibit       Date                        Document Description                                   Bates No.
 No.
 1028                      Received Ally Bank Documents for Zexi Song             DOJ-00008234
 1029                      U.S. Grand Jmy Subpoena and Received Documents for     DOJ-00008328-476
                           Zexi Song Bank Records from Ally Bank
 1030                      Received Ally Bank Documents for Zexi Song and Zheng   DOJ-00008477-619
                           Zhao
 1031                      Received Bank of America Documents for Dingding Ye     DOJ-00008643-706
                           and Qiang Ye
 1032                      Received Bank of America Documents for Chenglan Ding   DOJ-00008710-917
                           and Qiang Ye
 1033                      2018 and 2019 1099 Fo1ms for Chenglan Ding and Qiang   DOJ-00008918-921
                           Ye
 1034                      Received Bank of America Documents for Chenglan Ding   DOJ-00008930-9045
                           and Qiang Ye
 1035                      Received Bank of America Documents for Chenglan Ding   DOJ-00009196-327
                           and Qiang Ye
 1036                      Received Bank of America Documents for Qiang Ye        DOJ-00009328-479
 1037                      Received Bank of America Documents for Chenglan Ding   DOJ-00009488
                           and Qiang Ye
 1038                      Received Bank of America Documents for Chenglan Ding   DOJ-01414606-611
                           and Qiang Ye
 1039                      Received Bank of America Documents for Dingding Ye     DOJ-01414058
                           and Qiang Ye
 1040                      Received Bank of America Documents for Chenglan Ding   DOJ-01414125
                           and Qiang Ye
 1041      6/9/2019 -      Surveillance 302                                       DOJ-01414000-40
           8/29/2019
 1042       6/1/2019       Handwritten Notes from Smveillance                     KC-3111379-
                                                                                  FISUR- 0000040- 1A0000041- 0000001-
                                                                                  3




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Defendant's Exhibit List                                                                                  United States v. Tao
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Exhibit       Date                        Document Description                                     Bates No.
 No.
 1043                      F. Tao Smveillance Photo from Conference                 KC-3111379-
                                                                                    FISUR 0000040     1A0000041 0000004
 1044                      F. Tao Smveillance Photo from Conference                 KC-3111379-
                                                                                    FISUR 0000040     1A0000041 0000005
 1045                      F. Tao Smveillance Photo from Conference                 KC-3111379-
                                                                                    FISUR 0000040     1A0000041 0000006
 1046                      Smveillance Photo from Conference                        KC-3111379-
                                                                                    FISUR- 0000040-   1A0000041- 0000007-
                                                                                    8
 1047                      Handwritten Notes from Smveillance                       KC-3111379-
                                                                                    FISUR- 0000040-   1A0000041- 0000010-
                                                                                    11
 1048       7/1/2019       Physical Smveillance of F. Tao                           DOJ-01413915-16
 1049      7/30/2019       Physical Smveillance of F. Tao                           DOJ-01413949-50
 1050      7/30/2019       Physical Smveillance of F. Tao                           DOJ-01413954-55
 1051      7/31/2019       Physical Smveillance of F. Tao                           DOJ-01413958-59
 1052      7/31/2019       Physical Smveillance of F. Tao                           DOJ-01413961 -62
 1053       8/1/2019       Physical Smveillance of F. Tao                           DOJ-01413968
 1054       8/1/2019       Phvsical Smveillance of F. Tao                           DOJ-01413964
 1055      7/29/2019       Physical Smveillance of F. Tao                           DOJ-01413945
 1056      7/1/2019        Handwritten Notes from Smveillance                       KC-3111379-
                                                                                    FISUR 0000040 1A0000041 0000013
 1057      7/23/2019       Handwritten Notes from Smveillance                       KC-3111379-
                                                                                    FISUR 0000040 1A0000041 0000032
 1058                      Email from B. Newbmy re:   20 July 2019 Saturday 7a-3p   DOJ-01413936
 1059                      Email from B. Newbmy re:   20 July 2019 Saturday 7a-3p   DOJ-01413938
 1060                      Email from B. Newbmy re:   24 July 2019 Wednesday 2p-    DOJ-01413944
                           l0p
 1061                      Email re: 8/2/19 7a-3p                                   DOJ-01413973
 1062                      Email from B. Newbmy re:   6 August 2019 2pm-1 0pm       DOJ-01413980



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Defendant's Exhibit List                                                                                  United States v. Tao
                                                                                                   Case No. 19-20052-JAR-JPO

Exhibit       Date                         Document Description                                    Bates No.
 No.
 1063                      Email re: 6 August 2019 Tuesday 7a-3p                    DOJ-01413983
 1064                      Email re : 7/1/19 8a-4p                                  DOJ-01413918
 1065                      Email from B. Newbury re: July 17, 2019 Tuesday 12p-8p   DOJ-01413920
 1066                      Email re: 7/19/19 Friday 7am-3pm                         DOJ-01413934
 1067                      Email from B. Newbmy re: 22 July 2019 Monday 7a-3p       DOJ-01413940
 1068                      Email re : 7/29/19 7a-3p                                 DOJ-01413947
 1069                      Email from B. Newbmy re: July 30 2019 Tuesday 7a-3o      DOJ-01413951
 1070                      Email from B. Newbmy re: July 30, 2019 Tuesday 2p-10p    DOJ-01413952
 1071                      Email re : SITREP Wednesday, July 31, 2019, 7a-3p        DOJ-01413956
 1072                      Email with Undated Notes from Smveillan ce               DOJ-01413966
 1073                      Email from B. Newbmy re: 2 August 2019 7a-p Friday       DOJ-01413971
 1074                      Email from B. Newbmy re: Saturday 8/3/19 7a-3p           DOJ-01413975
 1075                      Email from B. Newbmy re: 4 August 2019 Sunday 7a-3p      DOJ-01413977
 1076                      Email from B. Newbmy re Fwd: 5 August 2019 Monday        DOJ-01413979
                           7a-3p
 1077                      Email re: SITREP, Wednesday, August 7, 2019, 2p-10p      DOJ-01413984
 1078                      Email re Fwd: 7 Aug 2019 Wednesday 7a-3p                 DOJ-01413987
 1079                      Email from B. Newbmy re: 8 August 2019 Thursday 7a-      DOJ-01413989
                           3p
 1080                      Email re : 8/11/19 7a-3p                                 DOJ-01413993
 1081      8/21/2019       F. Tao and H. Peng Smveillan ce Notes                    DOJ-01413998-99
 1082                      Email re : SITREP, July 23 2019 2p-1 0p                  DOJ-01413941
 1083                      Email from B. Newbmy re: 31 July 2019 Wednesday 2p-      DOJ-01413963
                           l0p
 1084                      Email re Undated Surveillance Notes on H. Peng           DOJ-01413969
 1085      8/10/2019       Email re: August 9, 2019 Friday 7a-3p                    DOJ-01413991
 1086                      Email re: 12 August 2019 7am-3pm                         DOJ-01413995
 1087      8/20/2019       F. Tao and H. Peng Smveillan ce Notes                    DOJ-01413996
 1088      7/17/2019       Drivers License Detail ofD. Nguyen                       DOJ-01413928-29
 1089      7/17/2019       Drivers License Detail of L. Nguyen                      DOJ-01413921


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Defendant's Exhibit List                                                                                    United States v. Tao
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Exhibit       Date                          Document Description                                     Bates No.
 No.
 1090      7/17/2019       Drivers License Infonnation on D. Nguyen                   DOJ-01413924
 1091      7/17/2019       Drivers License Detail ofL. N1myen                         DOJ-01413925
 1092      7/17/2019       Drivers License Infonnation on L. N 1myen                  DOJ-01413926
 1093      8/21/2019       Physical Smveillance Log ofL. Nguyen                       DOJ-00000881 -85
 1094                      Surveillance Video 1
 1095                      Surveillance Video 2
 1096                      Surveillance Video 3
 1097                      Surveillance Video 4
 1098                      Surveillance Video 5
 1099                      Surveillance Video 6
 1100                      Surveillance Video 7
 1101                      Surveillance Video 8
 1102                      Surveillance Video 9
 1103                      Surveillance Video 10
 1104                      Surveillance Video 11
 1105                      Surveillance Video 12
 1106                      Surveillance Video 13
 1107                      Surveillance Video 14
 1108        1/9/2018      Conflict of Interest Fo1m for F. Tao                       DOJ-00017090-97
 1109       9/25/2018      Conflict of Interest Fo1m for F. Tao                       DOJ-00017098- 105
 1110      12/18/2019      Email from C. Taylor to S. Lampe, et al. , re FWD: Tao's   DOJ-00015832-34
                           Teaching Schedule
 1111      1/22/2020       302 Inte1v iew with L. Weatherley                          DOJ-00001758
 1112                      Handwritten Notes from 302 Inte1view of L. Weatherley
 1113                      Screenshot of KU Website on University Scholarly
                           Achievement Award
 1114                      Scholarly Achievement Award Video
 1115      5/17/2019       F. Tao KU Paystub
 1116     April - May      F. Tao and H. Peng Check Images
             2019


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Defendant's Exhibit List                                                                                      United States v. Tao
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Exhibit       Date                          Document Description                                       Bates No.
 No.
 1117      8/23/2019       Email From M . Robe1tson to F. Tao re Lehigh University
                           - Chemistry Seminar Series - September 24 2019
 1118      7/15/2019       Email chain from X. Xu to F. Tao, et al., re: Seminar
                           invitation at Chemistry Depaitment of Lehigh University
 1119      5/3/2018 -      Email chain from I. Wachs to F. Tao, et al. , re: Fw: my     DOJ-00192423-24
           5/22/2018       updated CV with full info1mation - Anderson Chair
                           applicant
 1120      10/15/2018      Email chain from S . Bemasek to F. Tao re: Could you         DOJ-00169380
                           please provide recommendation letters?
 1121     11/28/2018 -     Email chain from C&EN Jobs to F. Tao re: Application         DOJ-00163083-84
            12/1/2018      submitted confnmation (C&ENJobs)
 1122      11/29/2018      Email chain from F. Tao to U. Ozkan re: quick question       DOJ-00131771 -72
 1123      11/29/2018      Email from Faculty Search Stanford to F. Tao re: Stanford    DOJ-00163357
                           Faculty Search Process
 1124      11/29/2018      Email from Faculty Search Admin Group to F. Tao re:          DOJ-00163358-59
                           Faculty Search Aoolication Confmnation
 1125      12/4/2018       Email from Illinois Chemistiy to F. Tao re: Application      DOJ-00162772
                           after Close of Job
 1126       1/2/2019       Email chain from J. Weaver to F. Tao re: application to
                           open faculty positions of your depa1tment
 1127      1/14/2019       Email from M . Yager to F. Tao re: Faculty Seai·ch
                           Completion
 1128       2/7/2019       Email from ChemE Faculty Seai·ch Admin to F. Tao re:
                           University of Michigan Depait ment of Chemical
                           Engineering Faculty Search
 1129      2/26/2019       Email from C. Horsfall to F. Tao re: UW-Madison Seai·ch      DOJ-00151515
 1130     7/12/2019 -      Email chain from I. Wachs to G . Ferguson, et al. , re: CV
           7/15/2019       of Franklin Tao
 1131     4/17/2018 -      Email chain from J. Kelber to F. Tao, et al., re: Welch      DOJ-00217066-67
           4/30/2018       Chair in Chemistiy at University ofN01th Texas



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Defendant's Exhibit List                                                                                      United States v. Tao
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Exhibit       Date                          Document Description                                       Bates No.
 No.
 1132      10/22/2018      Email from G . Somo1jai to F. Tao re: Recommendation         DOJ-00168412
                           letter
 1133      10/22/2018      Email chain from D. Damm to F. Tao re: recommendation
                           letter
 1134      8/17/2018       Email chain from L. Weatherley to F. Tao, et al. , re:       DOJ-00178606
                           inquire
 1135      11/30/2018      Email chain from P. Willhite to F. Tao re: Is there a        DOJ-00163242
                           chance I could meet with you on Monday next week?
 1136      10/12/2018      Email chain from P. Willhite to F. Tao re: Proxy             DOJ-00169589-90
                           Vote=Kevin Leonard 's Initial Review
 1137     8/17/2017 -      Email chain from P. Willhite to F. Tao, et al., re: Annual   DOJ-00461992-93
           8/19/2017       Review-Promotion to Full Professor
 1138     10/7/2015 -      Email chain from P. Willhite to F. Tao, et al., re: my       DOJ-00283369
           10/8/2015       updated CV
 1139     10/2/2015 -      Email chain from P. Willhite to F. Tao, et al., re: Pranja   DOJ-00284722-25
           10/3/2015       Dhar Promotion Votes
 1140     10/23/2014       Adiunct Aooointment Letter from Notre Dame to F. Tao         DOJ-01413318 at DOJ-01413337-38
 1141      7/13/2015       Adjunct Appointment Letter from Notre Dame to F. Tao         DOJ-01413318 at DOJ-01413318-19
 1142      11/7/2014       Email from the Office of the President of Notre Dame to      DOJ-01198083-84
                           Notre Dame Employees re: A message from Rev. John I.
                           Jenkins, C.S.C. RE: Ebola Epidemic
 1143      11/8/2014       Email from Notre Dame Secmity Policy to ND                   DOJ-01198060
                           Employees re: Crime Ale1t : Robe1t
 1144      12/22/2015      Email from S. Basu to J. Peng re : Meny Christmas &          DOJ-01187091 -92
                           Happy New Year
 1145      12/17/2014      Email from Center for Undergraduate Scholarly                DOJ-01193088
                           Engagement to cue-faculty list re: 2015 Undergraduate
                           Scholars Conference




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Defendant's Exhibit List                                                                                        United States v. Tao
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Exhibit       Date                          Document Description                                         Bates No.
 No.
 1146       6/4/2019       Email chain from Govermnent fufo1mant to J. CmTan, et
                           al., re: Chemical Society Reviews - CS-SYN-06-2018-
                           000488.Rl (ECF 30 - Ex. F)
 1147      4/30/2019       Email from Government fufo1mant to F. Tao (ECF 30 -
                           Ex. I)
 1148       5/3/2019       Email from Government fufo1mant to F. Tao re: I am
                           soITv. ffiCF 30 - Ex. J)
 1149       5/3/2019       Email from Government fufo1mant's Mother to F. Tao re:
                           I am ve1y sony, Teacher Tao! with translation (ECF 30 -
                           Ex. K)
 1150       1/9/2018       Conflict of futerest Fo1m for F. Tao (ECF 82 - Ex. A)
 1151      9/25/2018       Conflict of futerest Fo1m for F. Tao (ECF 82 - Ex. B)
 1152                      Old National Bank Statements for F. Tao and H. Peng            DOJ-01 413466
 1153       4/3/2019       Email from H. Peng to L. Grady re : Please check; with         DOJ-01421332-37
                           attachments
 1154      5/28/2019       Receipt of Loan
 1155      6/21/2019       Receipt of Loan ($29,000)
 1156      5/30/2019       Receipt of Loan
 1157       3/5/2019       Email from KU Emergency Email Notification System to           DOJ-00473347
                           Government fufo1mant re: TEST: Statewide Tornado Drill
 1158      4/17/2015       Email from T. Ning to F. Tao re: Postdoctoral Position         DOJ-01203122
                           Application
 1159      10/1/2018       Email from V. Schwaiiz to C. Bradley, et al. , re: Welcome     DOJ-00011821 -22; DOJ-00011823-36
                           to FY 19 DOE/BES/Catalysis Science Program; and
                           fufo1mation to Pis PowerPoint
 1160     7/25/2017 -      Email chain from V. Schwa1iz to F. Tao, et al., re : Receipt   DOJ-00011730-32
           7/27/2015       of Progress Repo1i for BES Award DE-SC0014562 by
                           DOE
 1161                      KU Office of Reseai·ch policy, Facilities and
                           Administrative Costs Retmn Policy



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Defendant's Exhibit List                                                                                     United States v. Tao
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Exhibit       Date                          Document Description                                      Bates No.
 No.
 1162      4/11/2019       Email from L. Weatherley to A. Scmto, et al., re: F and A
                           return oolicv
 1163     5/27/2019 -      Email from S. Wettlaufer to C. Bankait , et al. , re:
           5/29/2019       Attorney Client Communication - Subpoena -
                           futernational Affairs (ECF 127 Ex. 1)
 1164      2/10/2019       Email from Government fufonnant to F. Tao re: Thank         DOJ-00153795 - 96
                           vou verv much (ECF 127 Ex. 2)
 1165     2/10/2019 -      Email chain from F. Tao to Government fufo1mant re:         DOJ-00127677-79
           2/15/2019       Thank you ve1y much
                           (ECF 127 Ex. 3)
 1166     2/10/2019 -      Email chain from F. Tao to Government fufo1mant re:         DOJ-00153120 - 30
           2/15/2019       Thank you ve1y much
                           (ECF 127 Ex. 4)
 1167     4/12/2019 -      Email chain from Government fufo1mant to F. Tao re:         DOJ-00146682 - 83
           4/22/2019       fChinese Chai·actersl (ECF 127 Ex. 5)
 1168      4/22/2019       Email from Government fufonnant to F. Tao re: review
                           aiticle an d translation (ECF 127 Ex. 6)
 1169     4/12/2019 -      Email chain from Government fufo1mant to F. Tao re:         DOJ-00146655
           4/22/2019       time spent in helping (ECF 127 Ex. 7)
 1170      4/24/2019       Email from Government fufonnant to F. Tao re: Yom           DOJ-00146108
                           decisions (ECF 127 Ex. 8)
 1171       5/2/2019       Email chain from F. Tao to Government fufo1mant re:         DOJ-00125549 - 51
                           fChinese Chai·actersl (ECF 127 Ex. 9)
 1172       5/3/2019       Email from Government fufonnant to F. Tao re: [Chinese
                           Chai·actersl with translation (ECF 127 Ex. 10)
 1173       5/6/2019       Email chain from F. Tao to Government fufo1mant re:         DOJ-00125324 - 25
                           fChinese Chai·actersl (ECF 127 Ex. 11)
 1174      5/5/2019 -      Email from J. Chasen to Government fufonnant, F. Tao,       DOJ-00120038 - 39
            6/4/2019       et. al., re: Chemical Reviews - cr-2018-00114s.R2 (ECF
                           127 Ex. 12)
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Defendant's Exhibit List                                                                                       United States v. Tao
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Exhibit       Date                          Document Description                                        Bates No.
 No.
 1175     12/5/2016 -      Email from F. Tao to Government Info1mant, et al. , re Re:    DOJ-00140977 - 80
           6/4/2019        Chemical Reviews - CS-SYN-06-2018-000488.Rl (ECF
                           127 Ex. 13)
 1176       6/5/2019       Email chain from Government Info1mant to S. MacNally,         DOJ-00013943 -44
                           et al., re: Authorship allegations - CONFIDENTIAL (ECF
                           127 Ex. 14)
 1177      5/6/2019 -      Email chain from Government Info1mant to F. Tao re:
            6/4/2019       Chemical Reviews - cr-2018-00114s.R2 with translation
                           (ECF 127 Ex. 15)
 1178     5/12/2019 -      Email chain from S. Lampe to Government Informant, et
           5/20/2019       al., re: KU (ECF 127 Ex. 16)
 1179     4/30/2019 -      Email chain from J. Carlson to S. Lampe, et al., re FW:       DOJ-00000019 - 21
           5/13/2019       Fo1m submission fo1m: Anonymous Repo1ting Fo1m
                           (ECF 127 Ex. 17)
 1180       5/1/2019       Email chain from C. Taylor to J. Carlson, et. al., re: Info   DOJ-00015573
                           on IP Address - Tao Repo1t (ECF 127 Ex. 18)
 1181     5/10/2019 -      Email chain from B. White to C. Taylor, et al. , re Fwd:      DOJ-00013872 - 73
           5/13/2019       Franklin (Feng) Tao in the depait ment of chemical and
                           petroleum engineering is taking another full time and full
                           salaiy Professor position in China (ECF 127 Ex. 19)
 1182     5/13/2019 -      Email chain from A. Agah to C. Brown, et al. , re: Franklin
           5/14/2019       (Feng) Tao in the depaitment of chemical and petroleum
                           engineering is taking another full time and full sala1y
                           Professor position in China (ECF 127 Ex. 20)
 1183     5/13/2019 -      Email chain from C. Taylor to S. Lampe, et al. , re Fwd:      DOJ-00016748 - 56
           6/29/2019       Franklin (Feng) Tao in the depait ment of chemical and
                           petroleum engineering is taking another full time and full
                           salary Professor position in China (ECF 127 Ex. 21)
 1184     5/14/2019 -      Email chain from J. Cai·lson to S. Lampe, et al., re Fwd:     DOJ-00000022 - 23
           5/16/2019       Feng Tao (ECF 127 Ex. 22)



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Defendant's Exhibit List                                                                                     United States v. Tao
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Exhibit       Date                          Document Description                                      Bates No.
 No.
 1185     5/14/2019 -      Email chain from C. Taylor to J. Carlson, et al., re Fwd:   DOJ-00015524 - 26
           5/16/2019       Feng Tao - 5/16/2019
                           (ECF 127 Ex. 23)
 1186     5/19/2019 -      Email chain from J. Fugett to J. Carlson, et al. , re:      DOJ-00015395 - 96
           5/20/2019       Concerning Feng Tao (ECF 127 Ex. 24)
 1187      5/21/2019       Email chain from S. Wettlaufer to C. Taylor, et al. , re:   DOJ-00012682 - 83
                           Attorney Client Communication - Government Infonnant
                           (ECF 127 Ex. 26)
 1188      5/26/2019       Email chain from C. Taylor to J. Carlson, et al., re:       DOJ-00015505
                           Concerning Feng Tao (ECF 127 Ex. 27)
 1189      5/30/2019       Email chain from C. Taylor to J. Carlson, et al., re:
                           Concerning Feng Tao ffiCF 127 Ex. 28)
 1190      5/30/2019       Email chain from C. Taylor to K. Gmnewald, et al., re:
                           Concerning Feng Tao ffiCF 127 Ex. 29)
 1191     5/30/2019 -      Email chain from C. Taylor to J. Carlson re: Concerning
           5/31/2019       Feng Tao (ECF 127 Ex. 30)
 1192     5/26/2019 -      Email chain from F. Tao to Government Info1mant re          DOJ-00124747 - 51
           5/28/2019       Fwd: Consultation on your paper DOI:
                           10.1021/jacs.8b10910 (ECF 127 Ex. 31)
 1193       6/3/2019       Email chain from J. Carlson to S. Lampe, et al., re: Fwd:   DOJ-00000589 - 90
                           Concerning Feng Tao
                           (ECF 127 Ex. 32)
 1194      6/13/2019       FBI Incident Repo1t (ECF 127 Ex. 33)
 1195      6/23/2019       Email chain from C. Taylor to J. Carlson, et al., re Fwd:
                           Authorship allegations - CONFIDENTIAL (ECF 127 Ex.
                           34)
 1196      9/23/2019       302 Inte1v iew of Government Infon nant (ECF 127 Ex.
                           35)
 1197      7/9/2019 -      Email chain from J. Carlson to S. Lampe re: Response
           7/10/2019       (ECF 127 Ex. 36)



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Exhibit       Date                          Document Description                                    Bates No.
 No.
 1198      7/11/2019       Application and Affidavit in Suppo1i of a Search WaiTant    DOJ-00000627 -46
                           re: email address (ECF 127 Ex. 37)
 1199      8/19/2019       Application and Affidavit in Suppo1i of a Seai·ch WaiTant   DOJ-00000709 - 43
                           re: devices found at residences (ECF 127 Ex. 38)
 1200      7/26/2019       Letter from Google to S. Lampe re: Search Wairnnt dated
                           July 11 , 2019 (Google Ref. No. 2631316) 19-mj-8160-
                           JPO (ECF 127 Ex. 39)
 1201      7/11/2019       Seai·ch Wanant re: email address (ECF 127 Ex. 40)           DOJ-00000653 - 57
 1202      8/11/2019       Search Wanant re: devices found at residences (ECF 127      DOJ-00008103 - 11
                           Ex. 41)
 1203      7/19/2019       Email from S. Lampe to A. Mattivi, et al., re: Questions;
                           and Handwritten Notes (ECF 153 Ex. 1)
 1204     7/23/2019 -      Email chain from J. Cai·lson to S. Lampe re: proposals
           7/24/2019       (ECF 153 Ex. 3)
 1205       8/9/2019       302 fute1view of Government fufonnant (ECF 153 Ex. 5)
 1206       3/3/2020       Email from Government fufonnant to P. Zeidenberg re: I
                           olan to set uo a new case. (ECF 153 Ex. 6)
 1207      5/6/2019 -      Summer Pay Notification
           5/29/2019
 1208      5/23/2019       Email from T. Spencer to F. Tao, et al., re: IMPORTANT:
                           Funding to Pay CPE for Course Buyout
 1209     5/23/2019 -      Email chain from T. Spencer to J. Johns re : Reducing
           5/24/2019       Franklin Tao 's Summer Pay - Request Feedback
 1210      7/8/2019        Email from S. Lampe to J. Carlson, et al. , re: For
                           tomon ow
 1211       7/8/2019       Email chain from S. Lampe to J. Carlson re: On your own
 1212       7/9/2019       Email chain from J. Cai·lson to S. Lampe, et al., re Fwd:
                           Response
 1213      9/10/2020       A Safeguard for Jayhawk futegrity, Conflict of futerest +
                           Commitment Repo1i Video Presentation



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Exhibit       Date                         Document Description                                      Bates No.
 No.
 12 14     December        GAO Report "Agencies Need to Enhance Policies to          DOJ-01423162-2 17
              2020         Address ForeiQll Influence"
 12 15     9/30/2016       Financial Assistance Funding Oopo1tunity                  DOJ-00003446-532
 12 16     1/30/201 7      Proposal and Award Policies and Procedures Guide          DOJ-01423701 -880
 12 17                     NIH: Disclosing Other Suppo1i an d Forei!lli Components
 12 18    11/28/201 7 -    Email chain from C. Walker to F. Tao re: Renewal          DOJ-00240126-28
           12/4/201 7      proposal to DOE-BES
 12 19    12/11/201 7 -    Email chain from C. Walker to F. Tao re: files to be      DOJ-00236571-73
            1/5/201 8      submitted to DOE-BES for renewal
 1220       4/9/2020       NSF-Approved Fon nats for the Biographical Sketch &
                           CmTent and Pending Suppo1i Sections of NSF Proposals
                           Video
 1221       6/1/2020       Proposal and A ward Policies and Procedures Guide
 1222      5/20/201 5      Email from R. Miranda to F. Tao re: Your DOE Proposal     DOJ-00011229
                           - request for 3 documents
 1223     6/10/2015 -      Email from F. Tao to R. Miranda re : Your DOE Proposal    DOJ-00010745-46
           5/20/201 5      - request for 3 documents
 1224      7/10/201 8      Email from V. Schwaiiz to F. Tao re: Regarding your       DOJ-00011 844
                           cmTent renewal proposal for DOE/BES/Catalysis Science
                           Program
 1225       6/4/201 8      ChemComm, Studies ofsurface ofmetal nanoparticles in
                           a fl,owin~ liquid with XPS
 1226       6/4/2019       Chemical Reviews, Understanding Catalyst Surfaces
                           during Catalysis through Near Ambient Pressure X-ray
                           Photoelectron Spectroscopy
 1227      4/25/2019       Journal of American Chemical Society, Synergy ofSingle-
                           Atom Nil and Rul Sites on Ce0 2for D ry Reforming of
                           CH4
 1228      4/15/2019       Abstract from OSTI.gov, Synergy ofSingle-Atom Nil and
                           Rul Sites on Ce0 2 for D1y Reformin~ of CH4



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Exhibit       Date                        Document Description                              Bates No.
 No.
 1229      10/1/2020       Funding Oppo1tunity Announcement (FOA) Number: DE-
                           FOA-0002414
 1230      10/28/2020      NSF Memorandum of Investigation                       DOJ-00020618-19
 1231                      Comparison of Documents                               DOJ-00020408-10
 1232      1/13/2021       302 Inte1view of R. Keiser                            DOJ-01413452-54
 1233     March 2017       Research Perfo1mance Progress Repo1i                  DOJ-00003434-45
 1234      5/22/2020       V. Schwa1iz Memorandum of Investigative Activity      DOJ-00003590-93
 1235       1/7/2021       V. Schwa1iz Memorandum of Investigative Activity      DOJ-01413778-80
 1236      6/15/2019       Progress Repo1i                                       DOJ-00003533-71
 1237      6/17/2019       DOE PAMS Internal Comment                             DOJ-00003572-73
 1238         2018         2018 Annual Repo1i for the Center of Environmentally
                           Beneficial Catalysis
 1239         2019         2019 Annual Repo1i for the Center of Environmentally
                           Beneficial Catalysis
 1240       8/9/2019       302 re Returned Subpoena to Government Info1mant     -        3111 379-GJ 0000013
 1241      6/18/2019       302 re Government Info1mant Provided Websites                 311 1379-
                                                                                 UNCLASSIFIED 0000004
 1242                      Responses to S. Lampe Requests                        DOJ-00001760-62
 1243      1/22/2020       302 Inte1view of A. Agah                              DOJ-00001763
 1244      7/24/2013       NSF Proposal No. 1352516                              DOJ-00002888-941
 1245      12/1/2014       NSF Grant Letter                                      DOJ-00002975-77
 1246      6/28/2018       NSF Grant Letter                                      DOJ-00003088-90
 1247      2/20/2015       NSF Proposal No. 1539105                              DOJ-00003191 -283
 1248                      NSF Program Solicitation 11-690                       DOJ-00003285-305
 1249                      Proposal Notes                                        DOJ-00003306-07
 1250      12/11/2017      DOE Proposal #235086                                  DOJ-00003310-3433
 1251       5/21/2015      DOE Prooosal #219641                                  DOJ-00005944-6036
 1252     Janua1y 2015     DOE Federal Assistance Repo1iing Checklist an d       DOJ-00003997-4013
                           Instructions




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Exhibit       Date                          Document Description                                        Bates No.
 No.
 1253     March 2017       DOE Federal Assistance Repo1ting Checklist an d               DOJ-00004334-54
                           Instrnctions
 1254      6/26/2019       DOE PAMS Awardee Repo1t List                                  DOJ-00005684-85
 1255      6/26/2019       DOE PAMS Award Folder                                         DOJ-00005693-713
 1256      6/26/2019       DOE PAMS Action History                                       DOJ-00005718-20
 1257                      Progress Repo1t and Renewal Proposal                          DOJ-00006175-268
 1258       2/3/2018       KU Letter to F. Tao re Associate Professor                    DOJ-00010224
 1259       8/4/2018       KU Letter to F. Tao re Associate Professor                    DOJ-00010225
 1260                      Progress Repo1t and Renewal Proposal                          DOJ-00010237-305
 1261     6/17/2019 -      Email chain from F. Tao to V. Schwartz, et al., re:           DOJ-00010794-95
           6/18/2019       Regarding your progress repo1t and publications
 1262       9/4/2015       Assistan ce Agreement                                         DOJ-00014163-248
 1263     9/13/2019 -      Email chain from K. Gnmewald to S. Lampe, et al., re          DOJ-00014833-35
           9/16/2019       FWD: restitution amount
 1264      8/20/2019       FBI Photograph Log                                            DOJ-00000766-84
 1265      8/22/2019       302 re Cedar Ridge Search WaiTant                             DOJ-00000789-90
 1266      8/20/2019       Search Wanant Log and Prope1tv Seized                         DOJ-00000791
 1267      7/7/2019        Email chain from C. Taylor to S. Lampe, et al. , re: Please   DOJ-00014988
                           Respond
 1268                      Fall 2018 CPE 512: Chemical Engineering
                           The1modvnamics II Syllabus
 1269       9/5/2018       Email from F. Tao to F. Tao attaching CPE512 Svllabus
 1270     8/15/2019 -      Email chain from K. Grnnewald to J. Cai·lson, et al., re:     DOJ-00016401
           8/16/2019       change meeting date due to an emergencv of mv mother
 1271      3/16/2020       Email from guenillamail account to C . Taylor re: Feng        DOJ-00016418
                           Tao signed the contract
 1272      1/7/2020 -      Email chain from K. Gnmewald to C. Taylor, et al., re:        DOJ-00016486-87
            1/9/2020       About extortion
 1273     9/23/2019 -      Email chain from A. Reed to S. Lampe re: NSF and DOE          DOJ-00016881 -83
           11/5/2019



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Exhibit       Date                          Document Description                                        Bates No.
 No.
 1274     9/23/2019 -      Email chain from S. Lampe to A. Reed re: NSF and DOE          DOJ-00016884-85
           11/5/2019
 1275      5/14/2019       Email from K. Grnnewald to C. Taylor re FW:                   DOJ-00019872-73
                           CONFIDENTIAL Attorney-Client Communication
 1276      5/20/2018       Email from F. Tao to C. Brown, et al., re: quick question     DOJ-00019877
                           on no-payment leave
 1277      5/10/2018       Email from F. Tao to C. Brown et al. re: meeting slot         DOJ-00019878
 1278      6/28/2018       Email from A. Roberson to Post Award Grants, et al., re:      DOJ-00020069-71
                           Award Id: 1800577, PI: Tao
 1279       12/1/2014      NSF Award Documents                                           DOJ-00020249-52
 1280     Janua1y 2015     DOE Federal Assistance Repo1ting Checklist an d               DOJ-00020231 -47
                           Instructions :
 1281      2/25/2019       Email from F. Tao to L. Weatherley re: updated CV             DOJ-00127376-97
 1282      11/28/2018      Letter from F. Tao to University of Florida Faculty Search    DOJ-00130778
                           Committee re: open positions in chemical engineering
 1283      10/15/2018      Letter from F. Tao to University of Illinois Faculty Search   DOJ-00133211
                           Committee re: open rank full-time tenme-ti·ack positions
                           [College of Liberal Alts and Sciences: Open Rank Tenme
                           Track Faculty - Department of Chemistiy (101790)1
 1284     12/1/2018 -      Email from S. Quigley to F. Tao re Fwd: Application           DOJ-00162918-19
           12/3/2018       submitted from C&ENJobs by Franklin (Feng) Tao for
                           Associate or Full Professor Chemisti-v - Status: Emailed
 1285      11/28/2018      Letter from F. Tao to Brown University Faculty Search         DOJ-00162920-48
                           Committee re: open positions of Associate or Fully
                           Professor of Chemistiy
 1286      11/18/2018      Letter from F. Tao to Stanford University Faculty Search      DOJ-00163755
                           Committee re: open positions in chemical engineering
 1287      10/1/2018       Sponsored Project Budget Summa1y                              DOJ-00169739-91




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                                                                                                        Case No. 19-20052-JAR-JPO

Exhibit       Date                           Document Description                                       Bates No.
 No.
 1288     6/30/2018 -      Email from Government fufonnant to F. Tao, et al. , re:          DOJ-00185026-28
           7/12/2018       Mahak from TIFR: Application for the Postdoctoral
                           Position in your Lab
 1289      6/1/2018 -      Email chain from Government fufo1mant to M. Mood, et             DOJ-00186263-65
            6/6/2018       al., re: Postdoctoral Position
 1290                      NSF Program Solicitation 15-517                                  DOJ-000256149-61
 1291                      FDP Cost Reimbursement Research Subaward Am:eement               DOJ-00273397-406
 1292      7/9/2015        Letter from Notre Dame to F. Tao re: adiunct professor           DOJ-00282571
 1293     6/25/2017 -      Email chain from V. Schwartz to F. Tao, et al., re: Receipt      DOJ-00451404-05
           6/27/2017       of Progress Repo1i for BES Award DE-SC0014561 by
                           DOE
 1294                      KU Associate Professor Documents                                 DOJ-00474583-92
 1295      7/8/2014        NSF Award Document                                               DOJ-01193990-92
 1296     7/10/2014 -      Email chain from F. Tao to F. Fleming, et al. , re: NSF          DOJ-01204407-11
            8/8/2014       Career Award
 1297     7/23/2018 -      Email chain from F. Tao to Government fufo1mant, et al. ,        DOJ-01418239-40
           7/24/2018       re Fw: Postdoctoral applicant experiences and interested
                           in synthesis an d characterization of novel catalysts for fuel
                           cell aoolications
 1298     March 2010       KU Handbook for Faulty and Other Unclassified Staff              DOJ-01423112-61
 1299      9/8/2015        Principal fuvestigator Acknowledgment of                         DOJ-01423218
                           Responsibilities
 1300     6/11/2019 -      Email chain from C. Brown to C. Taylor, et al., re Fwd:
           6/12/2019       follow up meeting with Chris Brown
 1301      7/23/2019       Government fufo1mant fute1view Audio File
 1302     6/25/2019 -      Email chain from S. Lampe to A. Mattivi, et al., re:             JENCKS-00000291
           6/26/2019       Prollress
 1303      6/30/2014       KU Employment Offer to F. Tao                                    JENCKS-00000893-94
 1304                      Compilation ofF. Tao Publications from 2014 to present




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Exhibit       Date                          Document Description                                       Bates No.
 No.
 1305      12/18/2014      Email chain from L. Marino to F. Tao, et al. , re FW:        DOJ-00254388
                           Subllrant RF183-Gl
 1306      5/18/2018       Email chain from J. Johns to T. Watkins, et al. , re: no
                           need summer payment
 1307      5/23/2019       Email chain from F. Tao to J. Johns, et al. , re:
                           IMPORTANT: Funding to Pay CPE for Course Buyout
 1308      5/7/2018 -      Email chain from L. Weatherley to K. Wittman re:             DOJ-00001492-514
           6/18/2018       subaward from Fuzhou University
 1309      5/7/2018 -      Email chain from K. Mason to K. Wittman re: subaward         DOJ-00001515-37
           6/13/2018       from Fuzhou University
 1310     5/29/2019 -      Email chain from F. Tao to L. Weatherley, et al. , re:       DOJ-00001572-73
           6/22/2018       subaward from Fuzhou University
 1311     6/25/2018 -      Email chain from K. Wittman to F. Tao, et al. , re:          DOJ-00188442-43; DOJ-00188442a
           6/26/2018       fChinese Characters l; an d Tao Internal Budget attachment
 1312     5/29/2018 -      Email chain from L. Weatherley to F. Tao, et al. , re:       DOJ-00188752-53
           6/22/2018       subaward from Fuzhou University
 1313     5/29/2018 -      Email chain from K. Wittman to F. Tao, et al. , re:          DOJ-00188768-69
           6/22/2018       subaward from Fuzhou University
 1314      7/11/2019       Letter from NSF to Colleagues re Research Protection
 1315                      NSF Program Solicitation 11-690
 1316                      NSF Proizram Solicitation 15-517
 1317      3/23/2020       Promoting and Protecting the U.S. Science and                DOJ-01424375-98
                           Engineering Enterprise PowerPoint
 1318      10/19/2020      Promoting and Protecting the U.S. Science and                DOJ-01424399-424
                           Engineering Enterprise PowerPoint
 1319      10/19/2020      Promoting and Protecting the U.S. Science and                DOJ-01424425-40
                           En gineering Enterorise PowerPoint
 1320      4/12/2021       Promoting and Protecting the U.S. Science and                DOJ-01424441 -63
                           Engineering Enterprise PowerPoint




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Exhibit       Date                         Document Description                                     Bates No.
 No.
 1321      10/6/2020       Promoting and Protecting the U.S. Science and             DOJ-01424464-98
                           Engineering Enterorise PowerPoint
 1322      8/13/2020       Promoting and Protecting the U.S. Science and             DOJ-01424499-508
                           Engineering Enterprise PowerPoint
 1323      1/10/2019       Email chain from B. Subramaniam to A. Allgeier, et al.,   DOJ-00157780
                           re: Congratulations
 1324      12/1/2014 -     Email chain from R. Miranda to F. Tao re: more choices    DOJ-00011559-61
           12/16/2014      of reactions
 1325     2/27/2019 -      Compilation of2019 Sp1ing ACS Meeting at FL Orlando
             4/3/2019      Documents
 1326     12/29/2018 -     Compilation of2019 Sp1ing Korea Physics Meeting Email
            4/23/2019      Chain and Documents
 1327      1/18/2019 -     Compilation of2019 Sp1ing Oak Ridge National Lab
             5/6/2019      Meeting Email Chain an d Documents
 1328      5/15/2019 -     Compilation of2019 Summer DOE Principal Investigator
            7/19/2019      Catalysis Meeting in D.C. Email Chain an d Documents
 1329       5/5/2019 -     Compilation of2019 Summer Natural Gas Conversion
            5/28/2019      Meeting in Texas Email Chain an d Documents
 1330      3/30/2019 -     Compilation of2019 Summer No1t h American Catalysis
            7/19/2019      Meeting in Chicago Email Chain and Documents
 1331       1/10/2019      Email chain from A. Allgeier to F. Tao, et al., re:
                           Cornn-atulations
 1332     4/16/2019 -      Email chain from P. Dhar to F. Tao, et al. , re: GTA      DOJ-00147032-34
           4/17/2019       Suooort for Fall 2019
 1333     5/18/2019 -      Email chain from L. Weatherley to F. Tao re : teaching    DOJ-00121870-71
           5/20/2019       course
 1334     3/27/2019 -      Email chain from F. Tao to A. Nolan re: Advising          DOJ-00127083
           3/29/2019       Meeting
 1335     1/30/2019 -      Email chain from H. Shi to F. Tao re : Comprehensive      DOJ-00154102-05
           2/5/2019        Exam for C1ystal



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Exhibit       Date                          Document Description                     Bates No.
 No.
 1336      Fall 2018       Student Smvey of Teaching
 1337                      F. Tao KU University Scholarly Achievement Award
                           Plaque
 1338      10/17/2018      Year in Chemistiy, Catalysts revealed their molecular-
                           scale secrets
 1339      1/25/2018       KU Faculty Evaluation for 2017
 1340                      Compilation of KU Publications Showing Views and
                           Citations




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